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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                            ENTERED
                                                                                                               01/15/2021
In re                                                   )   Chapter 11
                                                        )
                                                        )
IGNITE RESTAURANT GROUP, INC., et                           Case No. 17-33550 (DRJ)
                                                        )
al.1,
                                                        )
                                                            (Jointly Administered)
                                   Debtors.             )
                                                        )
                                                        )
DRIVETRAIN, LLC, as Trustee of the                      )   Adv. Pro. No. 19-03468 (DRJ)
Ignite Restaurant Group GUC Trust,                      )
                                   Plaintiff,           )
                                                        )
v.                                                      )
CRUNCHTIME INFORMATION                                  )
SYSTEMS, INC.,                                          )
                   Defendant.                           )
                                                        )

             STIPULATION AND AGREED ORDER DISMISSING ADVERSARY
                         PROCEEDING WITH PREJUDICE

         Plaintiff and Defendant, in the above-captioned Adversary Proceeding (the “Adversary

Proceeding”), by and though their undersigned counsel, hereby stipulate and agree to dismiss the

Adversary Proceeding with prejudice.

IT IS SO ORDERED.


     Signed: January 12, 2021.
Dated: _________ ____, 2021                                     __________________________________
                                                            ____________________________________
                                                                THE HONORABLE DAVID R. JONES
                                                            DAVID  R. JONES
                                                                CHIEF   UNITED STATES
                                                            UNITED  STATES
                                                                BANKRUPTCY  BANKRUPTCY
                                                                               JUDGE     JUDGE



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number (if any), are: Ignite Restaurant Group, Inc. (1359); Ignite Restaurant Group – RSC LLC (1791); Joe’s Crab
Shack, LLC (4189); Joe’s Crab Shack – Redondo Beach, Inc. (5107); BHTT Entertainment, LLC (9818); Ignite
Restaurants – New Jersey, LLC (5907); Joe’s Crab Shack – Maryland, LLC (5297); Joe’s Crab Shack – Anne
Arundel MD, LLC (9318); Brick House Development, LLC (2944); JCS Monmouth Mall – NJ, LLC (3509); JCS
Development LLC (4235). The Debtors’ service address is: 10555 Richmond Avenue, Houston, Texas 77042.




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AGREED TO AS TO FORM AND CONTENT:

Dated: January 8, 2020


By: /s/ Sean W. Gilligan                    By: /s/ Michael D. Warner
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INFORMATION SYSTEMS, INC.
                                            -and-

                                            Michael D. Warner (TX Bar No. 00792304)
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                                            Counsel for Plaintiff, DRIVETRAIN, LLC, as
                                            Trustee of the Ignite Restaurant Group GUC
                                            Trust


                              CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2020, a true and correct copy of the foregoing was
served by this Courts CM/ECF Noticing System.


                                                    /s/ Michael D. Warner
                                                    Michael D. Warner




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